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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 1:18-cv-21361-UU

 MATTHEW KOHEN,

         Plaintiff,

 v.

 ULTIMATE SPORTS CAMP, LLC, et al.,

       Defendants.
 ____________________________________/

                                 ORDER DISMISSING CASE

         THIS CAUSE comes before the Court upon Plaintiff’s Notice of Voluntary Dismissal

 Without Prejudice (the “Notice”). D.E. 10.

         THE COURT has considered the pertinent portions of the record and is otherwise fully

 advised in the premises. On May 11, 2018, Plaintiff filed the Notice, dismissing the action

 without prejudice pursuant to Federal Rule of Civil Procedure 41. D.E. 10. Accordingly, it is

         ORDERED AND ADJUDGED that the case is DISMISSED WITHOUT PREJUDICE. It

 is further

         ORDERED AND ADJUDGED that the Clerk of Court SHALL administratively close

 this case. It is further

         ORDERED AND ADJUDGED that all future hearings are CANCELLED and all

 pending motions are DENIED AS MOOT.

         DONE AND ORDERED in Chambers at Miami, Florida, this 14th__ day of May, 2018.

                                                     _______________________________
                                                      URSULA UNGARO
                                                      UNITED STATES DISTRICT JUDGE
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 cc: counsel of record via cm/ecf
